Case 2:03-cV-02849-.]DB-tmp Document 100 Filed 06/23/05 Page 1 of 2 Page|D 110

IN THE UNITED sTATEs DISTRICT coURT Fll.Ei.') sv §§ go
FoR THE wEsTERN DISTRICT oF TENNESSEE "` `
wEsTERN DIvIsION 05 JUN 23 PH 2al w

 

RQEEWFR.DI?ROUO
CLHMLIiS.DBT CT

MARK REED, et al., W'D' OF TN» *"”‘E"`\‘FFH'S

Plaintiffs,
vsl

Civ. No. 03-2849-B[P

LEDIC MANAGEMENT COMPANY,
a/k/a LEDIC MANAGEMENT GROUP,

v\.r`.r\.d\_¢`/v~_rvvs.r

Defendant.

 

ORDER GRANTING PLAINTIFF'S MOTION
TO SUSPEND THIS LITIGATION FOR 60 DAYS

 

Before the court is plaintiff’s Motion to Suspend this
Litigation for 60 days, filed June 20, 2005. For good cause shown,
and the defendant having no opposition thereto, plaintiffs’ Motion
to Suspend this Litigation for 60 Days is hereby GRANTED.

Although the court certainly understands counsel's need to
attend to her ill mother, the court also must ensure that this case
proceeds in an efficient manner. Therefore, after expiration of
the 60-day period, if plaintiffs’ counsel is not prepared at that
time to proceed with this case, she shall file a motion to withdraw

as counsel, as set forth under Local Rule 83.1(h .

)
IT IS SO ORDERED.

TU"M. PHAM‘
United States Magistrate Judge

, _ do q § 3, 200
T§»is document entered on the docket sheet m ompBaal:Eue .
mm Rule 56 and/or YS{a) FHCP on _(.l__z;é_'°z `

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
case 2:03-CV-02849 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

ESSEE

 

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

1\/1emphis7 TN 38103

Yollander E. Hardaway

LAW OFFICE OF YOLLADER HARDAWAY
161 1 Linden Ave.

1\/1emphis7 TN 3 8104

Louis P. Britt

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/1emphis7 TN 38120

Telesa L. Taylor

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/1emphis7 TN 38120

Delaine R. Smith

FORD & HARRISON, LLP- Ridge Lake Blvd.
795 Ridge Lake Blvd.

Ste. 300

1\/1emphis7 TN 38120

Honorable J. Breen
US DISTRICT COURT

